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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF RHODE ISLAND




  RHODE ISLAND COALITION AGAINST
  DOMESTIC VIOLATION, et al.,
                                                       Case No. 1:25-cv-00279-WES-AEM
         Plaintiffs,

         v.

  PAMELA BONDI, et al.,

         Defendants.




                           DECLARATION OF GINGER BARAN LYONS




        I, Ginger Baran Lyons, pursuant to 28 U.S.C. § 1746, and based upon my personal

 knowledge and information known to me from official records reasonably relied upon by me in

 the course of my employment, hereby declare as follows relating to the above titled matter. Records

 attached to this declaration are true and accurate copies of records maintained in the ordinary

 course of business.

        1.      I am the Deputy Director for Grants Development and Management in the United

 States Department of Justice’s (“the Department”) Office on Violence Against Women (“OVW”),

 which administers grant programs authorized under the Violence Against Women Act (“VAWA”).

 I also currently serve as OVW’s designated Supervisory Official. I oversee the operations of the

 office, including the management of its grants.


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          2.       Prior to being installed as Deputy Director in December 2024, I served as OVW’s

 Associate Director for Performance, Assessment, Research, and Evaluation. I began working at

 OVW as a Grant Program Specialist in May 2010 and served in positions of increasing

 responsibility before my appointment to Associate Director in July 2022.

                  The Grant Programs Administered by OVW Further VAWA’s Purpose

          3.      Originally established administratively in 1995, OVW was established by statute in

 2002 as a “separate and distinct” office within the Department of Justice. 1 OVW’s mission 2 is to

 provide federal leadership in developing the nation’s capacity to reduce violence against women

 and administer justice for and strengthen services to victims of domestic violence, dating violence,

 sexual assault, and stalking (“VAWA crimes”). OVW administers more than two dozen federal

 grant programs, most of which are authorized by VAWA and subsequent legislation. Some

 programs are discretionary, meaning that eligible applicants generally must compete for funding

 through a merit review process conducted by OVW, typically using external peer reviewers; 3

 others are formula or quasi-formula, meaning that all eligible applicants receive an award,

 provided they meet application requirements, with the amount of the award determined by a

 mathematical formula.




 1
   Pub. L. No. 107-273, div. A, § 402(3), 116 Stat. 1789 (codified as amended at 34 U.S.C. §§ 10442-10445).
 2
   U.S. DEP’T JUST. OFFICE ON VIOLENCE AGAINST WOMEN, Mission Statement, https://www.justice.gov/ovw/mission
 (last visited July 18, 2025); see also 34 U.S.C. §§ 10442(c)(1) and 10444(5) (providing that OVW has sole
 jurisdiction over certain duties and functions, which carrying out the functions of the Department of Justice under
 VAWA and its reauthorizations, including “the development and management of grant programs”).
 3
   See 2 C.F.R. § 200.1 (defining a discretionary award as “an award in which the Federal agency, in keeping with
 specific statutory authority that enables the agency to exercise judgment (‘discretion’), selects the recipient or the
 amount of Federal funding awarded through a competitive process or based on merit of proposals” and noting that
 “[a] discretionary award may be selected on a non-competitive basis, as appropriate.”).

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         4.       Grant recipients and subrecipients (“recipients”) of OVW funds report serving

 hundreds of thousands of victims each year. 4 In their performance reports, recipients document the

 ways grant funds are used to help victims escape violence and live to see another day. 5 OVW’s

 grants provide funding to meet the urgent needs of victims in crisis and support the justice system’s

 response to VAWA crimes. 6

         5.       In my 15+ years as a career public servant, I have always known OVW to be an

 office staffed by people who are dedicated to the mission and committed to supporting recipients

 in keeping victims safe from further harm. My colleagues are steadfastly devoted to seeing that

 shelter, rape crisis center, police precinct, courthouse, and hospital doors are open to all victims,

 and that people who brutalize others are held accountable for their crimes and prevented from

 wreaking more havoc on their families and communities.

         6.       Activities that recipients can undertake with OVW funds are determined by statutes,

 regulations (including 2 C.F.R. Part 200, Uniform Administrative Requirements, Cost Principles,

 and Audit Requirements for Federal Awards, “Uniform Guidance” 7), requirements outlined in the

 Notice of Funding Opportunity (“NOFO”) under which an award is issued, and the DOJ Grants

 Financial Guide. 8

                                               Out-of-Scope Activities

         7.       Activities that recipients can undertake with OVW funds vary across grant

 programs. Since Fiscal Year (“FY”) 2011, each NOFO has identified a non-exhaustive list of out-



 4
   See, e.g., 2024 Biennial Report to Congress on the Effectiveness of Grant Funds under the Violence Against
 Women Act / Answering the Call: Thirty Years of the Violence Against Women Act, U.S. DEP’T JUST. OFFICE ON
 VIOLENCE AGAINST WOMEN (Dec. 13, 2024), https://www.justice.gov/ovw/media/1385821/dl?inline.
 5
   Id.
 6
   Id. at 16-17.
 7
   Available at https://www.ecfr.gov/current/title-2/subtitle-A/chapter-II/part-200?toc=1.
 8
   DOJ Grants Financial Guide, U.S. DEP’T JUST. OFFICE OF JUSTICE PROGRAMS (October 2024),
 https://www.ojp.gov/funding/financialguidedoj/overview.

                                                         3
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 of-scope activities to alert applicants to what we cannot finance under the statute setting forth the

 grant program’s scope. These lists have been revised over time, largely in response to activities

 OVW staff commonly advise recipients to remove from their proposed grant budgets and project

 plans, or activities recipients report having funded with OVW dollars because they did not realize

 it was out-of-scope. The out-of-scope activities list must be read in conjunction with the statutory

 program purposes, also set forth in the NOFO. Even when a particular activity or cost is not

 explicitly prohibited by a NOFO or the Uniform Guidance, funds that are spent on unallowable

 activities typically must be paid back, so OVW modifies its out-of-scope activities lists to help

 applicants develop proposals and ensure recipients keep costs in line with the statutory purposes

 of the grant program. For example:

             a. Since FY 2012, NOFOs for a grant program addressing VAWA crimes on college

                campuses list as out-of-scope: “Products and/or materials that are not specifically

                focused on the dynamics of [VAWA crimes] and campus responses to these

                crimes.” This was added to NOFOs after OVW found that recipients were using or

                requesting to use grant funds to develop and distribute materials on topics unrelated

                to the purposes of their projects, such as women’s empowerment or sex education.

                This out-of-scope item was added to clarify for applicants and recipients that

                activities untethered to addressing VAWA crimes are not permissible uses of grant

                funds.

        8.      The revision, addition, or removal of out-of-scope activities is not a formalized

 process, but rather, is typically determined by OVW staff when they draft NOFOs using a given

 year’s NOFO template. Out-of-scope activities are also scrutinized during the NOFO review

 process by OVW supervisors and attorneys, who advise on matters of statutory compliance. OVW



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 staff are mindful of Uniform Guidance directives to “limit the length and complexity of the

 [NOFO]” while also including “information on program specific unallowable costs so that the

 applicant can develop an application and budget consistent with program requirements.” 9

                              NOFOs Often Emphasize an Administration’s Priorities

            9.      In my experience, NOFO templates, individual NOFOs, and other public-facing

 documents are perennially subject to revisions by politically appointed leadership, as is their

 prerogative. Examples of past revisions include those to: a) advance an Administration’s policy

 objectives by emphasizing specific ways of implementing VAWA programs’ purposes (e.g., a

 focus on anti-stalking efforts under the first Trump Administration and a priority of reaching

 underserved populations under the Biden Administration); b) encourage applicants to address

 perceived areas of underinvestment (e.g., under various Administrations, supporting faith-based

 organizations and emphasizing legal obligations to provide language access for people with limited

 English proficiency); and c) use favored words or avoid disfavored words (e.g., “historically

 marginalized” was a term frequently used under the Biden Administration and terms such as

 “unconscious bias” or “intersectionality” were deemed to be potential indicators of trainings that

 teach divisive concepts during the first Trump Administration).

            10.     The Out-of-Scope Activities section is a logical place to emphasize the current

 Administration’s priorities related to violence prevention, victim safety, law enforcement, and

 offender accountability, because activities not furthering these goals also fall outside the statutory

 scope of OVW’s grant programs. OVW’s 30 years’ experience administering grant programs has

 taught us that recipients can get distracted from the authorized purposes of the programs by a desire

 to tackle crimes not generally covered by VAWA, such as child abuse and neglect, or broader



 9
     2 C.F.R. § 200.204 & App. I(b)(3)(i)(G).

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 systemic social justice issues, such as criminal justice reform, economic development, or anti-bias

 training unrelated to measurable improvements in responding to VAWA-covered crimes. The FY

 2025 list of out-of-scope activities addressing Administration priorities not specifically covered

 by an E.O. are informed by this experience. The out-of-scope activities in the FY 2025 NOFOs do

 not preclude recipients from using grant funds for activities allowed under VAWA and other

 pertinent authorities.

                                      OVW’s General Terms and Conditions

         11.      Each year, OVW posts on its website “General Terms and Conditions” as required

 by the Uniform Guidance. 10 Since FY 2017, these general conditions have included one on

 “remedies for non-compliance or for materially false statements” and several on “[c]ompliance

 with DOJ regulations pertaining to civil rights and nondiscrimination.”

         12.      The general terms and conditions have reflected past administration’s policy

 priorities. An example of an amplifying condition implemented pursuant to an E.O. is OVW’s

 general condition on policies to ban text messaging while driving, which was required by 2009

 E.O. 13513, Federal Leadership on Reducing Text Messaging While Driving. 11

         13.      An example of a condition implementing an Administration priority is OVW’s

 general condition on “training guiding principles,” which was originally added to OVW awards

 pursuant to a March 20, 2012 Deputy Attorney General memorandum requiring that Department-

 funded training be guided by “a set of overarching principles” developed by a working group of

 “the Attorney General’s Arab-Muslim Engagement Advisory Group.” 12


 10
    2 C.F.R. § 200.211(c)(2). These conditions are posted by fiscal year on OVW’s website. See U.S. DEP’T JUST.
 OFFICE ON VIOLENCE AGAINST WOMEN, Award Conditions, https://www.justice.gov/ovw/award-conditions (last
 visited July 18, 2025).
 11
    See U.S. DEP’T JUST. OFFICE ON VIOLENCE AGAINST WOMEN, General Terms and Conditions, § 21
 https://www.justice.gov/ovw/fy-2025-general-terms-and-conditions#21 (last visited July 18, 2025).
 12
    See id. at § 9; see also U.S. DEP’T JUST., Mem. for Heads of Components and United States Attorneys (Mar. 20,
 2012), https://www.justice.gov/sites/default/files/dag/legacy/2012/03/20/training-guiding-principles.pdf.

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         14.     In FY 2025, OVW and DOJ’s other two grantmaking components, the Office of

 Community Oriented Policing Services and the Office of Justice Programs, all added a new

 condition to comply with Section 3(b)(iv) of E.O. 14173, which requires the head of each federal

 agency to include in every grant award a term requiring the recipient (1) “to agree that its

 compliance in all respects with all applicable federal anti-discrimination laws is material to the

 government’s payment decisions for purposes of [the False Claims Act]”; and (2) “to certify that

 it does not operate any programs promoting DEI that violate any applicable Federal anti-

 discrimination laws.” The new condition is number 15 on the list of general conditions posted on

 OVW’s website. 13 OVW understands this condition as amplifying—but not materially changing—

 the pre-existing general conditions on remedies for non-compliance for materially false statements

 and compliance with DOJ regulations pertaining to civil rights and nondiscrimination.

                      Agency Process to Determine FY 2025 Out-of-Scope Activities

         15.     On January 27, 2025, the Office of Management and Budget’s (“OMB”) issued

 memorandum M-25-13, Temporary Pause of Agency Grant, Loan, and Other Financial Assistance

 Programs, which, among other things, directed federal agencies to identify federal financial

 assistance programs implicated by an executive order (“E.O.”) issued in the initial days of the

 Trump Administration. 14 In response, OVW analyzed its grant programs and concluded that no

 OVW grant programs promote or facilitate the violation of federal immigration laws (see

 Protecting the American People Against Invasion (E.O. 14159)), fund discriminatory programs

 including illegal DEI and “diversity, equity, inclusion, and accessibility” (“DEIA”) (see Ending




 13
    See U.S. DEP’T JUST. OFFICE ON VIOLENCE AGAINST WOMEN, FY 2025 General Terms and Conditions, § 15,
 https://www.justice.gov/ovw/fy-2025-general-terms-and-conditions#15 (last visited July 18, 2025).
 14
    M-25-13 was rescinded on January 29, 2025. See OFF. OF MGMT. & BUDGET, EXEC. OFF. OF THE PRESIDENT,
 Mem. M-25-14, Rescission of M-25-13 (Jan. 29, 2025), https://www.whitehouse.gov/omb/information-
 resources/guidance/memoranda/.

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 Radical and Wasteful Government DEI Programs and Preferencing (E.O. 14151)), promote

 gender ideology (see Defending Women from Gender Ideology Extremism and Restoring

 Biological Truth to the Federal Government (E.O. 14168)), or support activities prohibited by

 E.O.s issued on or after January 20, 2025.

         16.     I further analyzed OVW’s grant programs vis-à-vis the Defending Women E.O. in

 late January 2025, determining that the grant programs OVW administers exist to defend women

 from violence and abuse and that, pursuant to VAWA’s nondiscrimination provision (34 U.S.C. §

 12291(b)(13)(A)), OVW recipients must serve victims regardless of how victims describe

 themselves.

         17.     In mid-March 2025, I further analyzed our grant programs vis-à-vis E.O. 14173,

 Ending Illegal Discrimination and Restoring Merit-Based Opportunity, and a February 5, 2025

 Attorney General memorandum, Eliminating Internal Discriminatory Practices. 15 I determined

 that OVW grants do not promulgate DEI/DEIA nor do they “violate the text and spirit of our

 longstanding Federal civil-rights laws[...]and undermine our national unity.” I saw no room in

 OVW’s authorizing statutes for such programming and determined that OVW will not approve

 material that presents social theory as empirical fact and/or encourages “race- or sex-based

 preferences, diversity hiring targets, or preferential treatment based on DEI- or DEIA related

 criteria.” As part of my analysis, I considered that OVW administers grant programs authorized

 by Congress to provide culturally specific victim services and reach underserved populations and

 that, in addition to victim services, investigation, prosecution, and other activities, OVW grant

 programs fund training to equip professionals with the knowledge and skills they need to combat

 violence and serve victims. I also considered that some of this training addresses how race, sex,


 15
   See OFF. OF ATT. GEN., Mem. For All Department of Justice Employees, Eliminating Internal Discriminatory
 Practices (Feb. 5, 2025), https://www.justice.gov/ag/media/1388556/dl?inline.

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 culture, and other factors can affect a person’s experience of violence and their pursuit of safety

 and justice, relying on the following illustrative examples:

            a. Training on honoring victims’ religious traditions. OVW-funded staff at domestic

                violence shelters benefit from and provide training on how to best serve victims

                from the populations represented in their local communities. This can mean, for

                example, ensuring that shelter staff know to have non-pork meal options for Jewish

                residents. Religious and cultural traditions such as these can be core to a person’s

                sense of self and integral to their ability to survive hard times and thrive in the

                future.

            b. Training on serving male victims of sexual violence. A recipient trains victim

                advocates and law enforcement in rural counties on working with men and boys

                who have been victimized and may face unique difficulties when they disclose, due

                to commonly held misperceptions about male victims. This training can foster more

                effective investigations, increased reporting, and services that help men and boys

                cope with trauma in healthy ways.

            c. Training on a Native community’s culture to help victims recover. At an OVW-

                funded agency in an Alaska Native village, staff are trained by elders on Yupik

                culture so they can support Yupik victims in healing from violence and parenting

                their children in traditional ways.

            d. Training on not regulating behavior in ways that conflict with culture. For example,

                at a training for OVW-funded supervised visitation staff, a trainer who works in a

                port city advises attendees that policies must account for the cultural norms of the

                populations served. She explains that at her visitation center, staff could not enforce



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                   a rule against foul language because expletives are a part of the vernacular among

                   the longshoremen who comprise a significant portion of the men court-ordered to

                   see their kids at the visitation center. Canceling visits over curse words would mean

                   these fathers could not spend time with their children, which could in turn

                   jeopardize the children’s and their mothers’ safety.

                e. Training for community partners on supporting victims from specific populations.

                   Two examples are: 1) a recipient that works with the Korean American community

                   trains faith leaders in local Korean churches so they can support victims in their

                   congregations; and 2) OVW-funded staff at a Deaf victim services program train

                   law enforcement on communicating and working with Deaf victims. This training

                   can help law enforcement gather more accurate information and build trust with

                   Deaf victims, resulting in better investigations.

          18.      In March 2025, OVW assessed how best to address the Administration’s priorities,

  including E.O.s, in OVW’s FY 2025 NOFOs. Given OVW’s prior determination that our grant

  programs could not fund activities proscribed by the E.O.s, we identified the Out-of-Scope

  Activities section as the best place to emphasize the policy goals of the E.O.s by clarifying what

  recipients already cannot do with OVW funds. The Out-of-Scope Activities section simply

  clarifies that for any E.O. not specifically referenced, we determined that any unlawful violation

  of an E.O. necessarily is out-of-scope because grant funds could never be used for unlawful

  activities.

                The FY 2025 Out-of-Scope Activities and General Terms and Conditions Are

                                         Consistent with VAWA




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          19.     OVW does not view and never to my knowledge has viewed any of its grant

  programs’ statutes as promoting “illegal DEIA”, facilitating the violation of immigration laws, or

  “inculcating gender ideology.”

          20.     VAWA, as amended, prohibits OVW recipients from excluding, denying benefits

  to, or discriminating against any person on the basis of actual or perceived race, color, religion,

  national origin, sex, gender identity, sexual orientation, or disability in any program or activity

  funded in whole or in part by OVW (34 U.S.C. § 12291(b)(13)(A)). The note at the end of the list

  of out-of-scope activities (stating that “[r]ecipients should serve all eligible victims as required by

  statute, regulation, or award condition”) was intended to refer in part to this provision. During my

  tenure at OVW, I have never received or known of a directive from Department leadership to insert

  into NOFOs any limitation, condition, or other requirement compelling recipients to violate this

  provision.

          21.     OVW regulations (28 C.F.R. § 90.4(c)) stipulate that [v]ictim eligibility for direct

  services is not dependent on the victim’s immigration status.” Similarly, OVW grants include a

  condition 16 that recipients may not engage in activities that jeopardize victim safety or allow

  offenders to escape responsibility, including, among other things, excluding victims from

  receiving services based on their actual or perceived immigration status. The note at the end of the

  list of out-of-scope activities (stating that “[r]ecipients should serve all eligible victims as required

  by statute, regulation, or award condition”) was intended to refer in part to this regulation and

  award condition. Also, recipients may use grant funds to help victims access immigration benefits

  designed for abused immigrants and other immigrant victims of crime (i.e., VAWA self-



  16
    See U.S. DEP’T JUST. OFFICE ON VIOLENCE AGAINST WOMEN, General Terms and Conditions, § 31,
  https://www.justice.gov/ovw/fy-2025-general-terms-and-conditions#21 (last visited July 18, 2025).


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  petitioning, VAWA cancellation of removal, and T and U visas). 17 During my tenure at OVW I

  have never received or known of a directive from Department leadership to insert into NOFOs any

  limitation, condition, or other requirement compelling recipients to violate this regulation or curtail

  lawful services to immigrant victims.

          22.      May 23, 2025, I provided OVW staff with talking points for responding to

  applicants’ questions about the Out-of-Scope Activities listed across OVW’s FY 2025 NOFOs.

  See Talking Points dated May 23, 2025, attached hereto as Exhibit A.

          23.      June 11, 2025, OVW posted a sample letter for the Certification Regarding Out-of-

  Scope Activities on the Open NOFOs page of our website with a brief note explaining what it is.

  This was not a policy announcement. It was intended to assist applicants, as it is OVW’s standard

  practice to provide sample certification letters and other required documents to make it easier to

  apply for OVW grants.

                                The Certification and Civil Rights Fraud Initiative

          24.      In early May 2025, OVW added the Certification Regarding Out-of-Scope

  Activities to FY 2025 NOFOs to call applicants’ (and ultimately recipients’) attention to the

  importance of focusing grant-funded activities on the statutory purposes of each grant program.

  Including a certification encourages applicants to read and think carefully about its contents and

  provides guardrails for OVW’s iterative decision-making process with recipients on the use of

  grant funds. It also provides a clear basis for suspending or terminating an award if OVW’s other




  17
    See 34 U.S.C. § 12291(a)(24) (defining “legal assistance” to include assistance provided in immigration matters);
  id. § 12291(a)(51) (defining “victim services” to include legal assistance); id. § 10461(b)(5) (allowing grant funds
  under the ICJR Program to be used for strengthening assistance to victims in immigration matters); id. § 12341(b)(2)
  (allowing funds under the Rural Program to be used to assist victims of domestic violence, dating violence, sexual
  assault, and stalking in immigration matters); id. § 10441(b)(10) (allowing STOP Formula Grant Program funds to
  be used to provide assistance to victims of domestic violence and sexual assault in immigration matters).

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  corrective measures for ensuring recipients use funds for in-scope activities have proven

  unsuccessful.

          25.      On May 19, 2025, the Department announced a Civil Rights Fraud Initiative “which

  will utilize the False Claims Act to investigate and, as appropriate, pursue claims against any

  recipient of federal funds that knowingly violates federal civil rights laws.” 18 I have not been

  involved in, or been made aware of, any intentions within the Department to subject OVW

  recipients to investigations or penalties under the False Claims Act.

                    OVW Guides a Grant Recipient in the Pre- and Post- Award Process

          26.      Determining whether a planned activity is within the scope of a grant program is

  not always a straightforward, categorical decision. It is best done in the context of a specific project

  and not based on hypotheticals. It tends to be case-specific and decided through an iterative process

  with the recipient.

          27.      The NOFO is the first of many steps in the award process because it provides basic

  information for applicants to use in developing a proposal. Once the applicant becomes a recipient,

  negotiations may involve OVW asking the recipient for clarification on the need for the

  activity/item, providing the recipient with opportunities to revise its justification for the

  activity/item, explaining to the recipient our basis for determining that the activity/item is out-of-

  scope, and assisting the recipient in coming up with alternatives that are within the scope of the

  statute and the funded project, as well as allowable under the Uniform Guidance.

                a. For example, OVW staff recently worked with a recipient during budget review to

                   ensure that planned expenditures were necessary, allowable, reasonable, and

                   allocable in keeping with the Uniform Guidance. In this case, the recipient intended


  18
    See Press Release, Justice Dep’t Establishes Civil Rights Fraud Initiative, U.S. DEP’T JUST. OFF. PUBLIC AFFAIRS
  (May 19, 2025), https://www.justice.gov/opa/pr/justice-department-establishes-civil-rights-fraud-initiative.

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                  to buy Stanley cups (i.e., high-end water bottles that cost $50 each) to distribute at

                  community events with information about where victims can go for help placed

                  inside the cups. The recipient contended that these items were critical to achieving

                  the project’s outreach goals. OVW’s statutes, regulations, and other requirements

                  do not explicitly address water bottles, so water bottles are not unilaterally an

                  allowable or unallowable purchase. OVW, however, has a duty to work with

                  recipients to determine that budgeted items under our grants are within scope and

                  are a worthwhile use of grant dollars. In this case, OVW staff recommended

                  purchasing cheaper water bottles and the recipient agreed.

               b. As another example, a recipient recently submitted for OVW approval a training

                  resource on how to counter legislation the recipient deemed harmful to victims.

                  Because recipients cannot use OVW funds to lobby lawmakers, OVW did not

                  approve this item. Rather, OVW worked with the recipient to identify a training

                  topic (i.e., navigating jurisdictional issues in sexual assault cases) that was within

                  the statutory scope of the grant program and the scope of the recipient’s project.

         28.      OVW actively guides recipients to ensure they can advance anti-violence against

  women and victim-safety efforts in their communities. We ensure projects not only adhere to

  program scope and legal requirements, but also achieve maximum impact.

         29.      OVW staff identify out-of-scope activities throughout an application’s pre-award

  review and continue to work with a recipient after an award is issued to ensure that such activities

  are not supported with grant funds (e.g., removing out-of-scope items from budgets before

  approving the budget and releasing the funds). When we find that a recipient has spent grant funds

  on an Out-of-Scope Activity (e.g., discovered when conducting routine monitoring, such as



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  reading performance reports that most recipients file twice per year, or during the closeout

  process), we address it with the recipient and may require the recipient to return misspent funds to

  the grant. Oftentimes, however, we can resolve the issue without requiring repayment of funds,

  such as when we flag as out-of-scope sections of a PowerPoint presentation submitted for OVW

  approval. In such a case, we typically would direct the recipient to simply revise the presentation.

          30.    In mid-February 2025, I provided staff with instructions for reviewing recipients’

  grant-funded products to ensure they align with OVW’s statutory charge from Congress, pertinent

  regulations, and Department directives. I reminded them that the thread that runs through all

  VAWA programs is a coordinated community response, which means that when a victim asks for

  help, people work together to keep the victim safe from further violence; collaboration, training,

  and other elements of a coordinated response ensure that advocates, law enforcement officers,

  prosecutors, healthcare personnel, and others know the communities they work in and can

  effectively serve victims. I also reminded them that VAWA prohibits OVW recipients from

  excluding, denying benefits to, or discriminating against any person on the basis of actual or

  perceived race, color, religion, national origin, sex, gender identity, sexual orientation, or disability

  in any program or activity funded in whole or in part by OVW. Finally, I asked them to be mindful

  of the Attorney General’s February 5, 2025 memorandum, Ending Internal Discriminatory

  Practices, when reviewing and approving materials, specifically its instructions to avoid references

  to DEI or DEIA in training and programs, including references to “unconscious bias,” “cultural

  sensitivity,” and “inclusive leadership.”

                           OVW Works with Grant Recipients to Resolve Issues

          31.    Since FY 2017, every OVW grant awards has contained an award condition stating

  that compliance with assurances or certifications submitted by recipients are a material



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  requirement of the award and that failure to comply may result in OVW withholding award funds,

  disallowing costs, or suspending or terminating the award. This condition further states that any

  materially false, fictitious, or fraudulent statement to the federal government related to the award

  may, among other things, be subject to criminal prosecution under 18 U.S.C. § 1001 or lead to

  civil penalties and administrative remedies under the False Claims Act. 19

          32.     In our normal course of business, OVW does not take draconian measures when

  concerns arise in a project we fund, including the recipient’s conformity with program scope or

  award conditions. We work with recipients to resolve issues, offering guidance or technical

  assistance to assist them in doing so. OVW’s goal is for the grant programs to succeed to further

  to goals of VAWA. To that end, OVW may issue a corrective action plan to make clear to a

  recipient what needs to be done to get the project back on track. When problems persist, we may

  make referrals for additional monitoring or oversight (e.g., a referral to the Office of the Inspector

  General’s (“OIG”) Audit Division, or to the Office of Justice Programs’ Office for Civil Rights).

  A recipient’s inability or refusal to rectify problems after OVW takes such corrective measures

  may then warrant further action which could ultimately lead to suspension or termination of a grant

  or even civil or criminal penalties, if DOJ enforcement authorities determine that the legal

  standards for these remedies have been met.

             The FY 2025 Grant Applications Have Increased Compared to FY 2024

          33.     The updated out-of-scope activities and related certification for FY 2025 have not

  deterred grant applications. Rather, OVW has seen a significant increase in competitive grant

  applications in FY 2025 as compared to last year. The following programs’ NOFOs closed within

  recent weeks:


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    See U.S. DEP’T JUST. OFFICE ON VIOLENCE AGAINST WOMEN, General Terms and Conditions, § 21,
  https://www.justice.gov/ovw/fy-2025-general-terms-and-conditions#21 (last visited July 18, 2025).

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                                                                     2024 no. of   2025 no. of
                                               NOFO                 apps received apps received                      Increase
                              Transitional Housing                       238           277                             16%
                              Tribal Governments                          53            65                             22%
                              Improving Criminal Justice Responses        61           100                             64%
                              Consolidated Youth                         121           323                             167%
                              Rural                                      162           210                             30%
                              Engaging Men and Youth                      48            90                             49%
                              Abuse in Later Life                         27            30                             11%
                              Enhancing Investigation & Prosecution       40            45                             13%




           34.          In the states where Plaintiff coalitions are and states whose Attorneys General filed

  an amicus brief, OVW received a net 30% more applications under competitive grant programs

  for which the now-closed FY 2025 NOFO contained the cross-program out-of-scope activities.

  The chart below shows that the total number of applications increased this year for 21 of the 29

  states, decreased for five states, and remained the same as FY 2024 for three states:

                                                  Improving                                         Enhancing
                               Transitional    Criminal Justice                   Consolidated    Investigation &
                             Housing Program   Responses (ICJR)   Rural Program   Youth Program     Prosecution         State Total
      State                   2024      2025    2024      2025    2024     2025   2024     2025   2024       2025    2024       2025
      Arizona                   5         7       0         0       5         5     5         7     0          1      15         20      
      California               29        35       4        11       5        13    18        41     1          5      57         105     
      Colorado                  5         2       2         2       7         4     2         8     0          2      16         18      
      Connecticut               1         2       0         2       0         0     2         3     0          0       3          7      
      District of Columbia      2         3       0         0       0         0     1         3     0          0       3          6      
      Delaware                  1         1       1         0       0         0     0         0     1          0       3          1      
      Hawaii                    1         5       0         1       1         1     0         2     0          2       2         11      
      Idaho                     2         1       1         0       4         5     2         3     0          0       9          9      --
      Illinois                  3        10       2         2       3         1     7        13     2          2      17         28      
      Iowa                      3         6       0         0       5         1     1         2     0          0       9          9      --
      Kansas                    0         0       0         1       2         3     1         1     0          1       3          6      
      Maine                     2         4       2         2       5         6     0         2     3          0      12         14      
      Maryland                  2         7       0         3       1         1     3         4     0          0       6         15      
      Masachussetts             3         5       2         2       1         2     2         6     1          1       9         16      
      Michigan                  8         8       2         1       4         3     2        11     5          2      21         25      
      Minnesota                10         5       4         2       2        4      3         4     0          1      19         16      
      Montana                   3         5       3         1       6        7      0         3     0          1      12         17      
      Nevada                    4         4       0         3       2        4      2         1     0          1       8         13      
      New Jersey                6         6       1         3       0        1      4         8     1          0      12         18      
      New Mexico                3         4       0         0       4        1      0         1     1          0       8          6      
      New York                 18        15       5         4       6        8      9        17     5          1      43         45      
      North Carolina           10         7       3         4       7        6      5         9     1          1      26         27      
      Oregon                    6         3       4         0       6        6      2        2      1          1      19         12      
      Pennsylvania              7         2       1         3       2        1      3        10     0          1      13         17      
      Rhode Island              2         1       0         1       0        0      1        1      0          0       3          3      --
      Vermont                   1         3       1         1       1        2      0        1      0          0       3          7      
      Virginia                  5         3       2         1       4        2      2        9      0          0      13         15      
      Washington                4         5       4         4       2        6      3        6      4          1      17         22      
      Wisconsin                10         6       1         3      11        6      4         7      0         0       26         22     
      TOTAL                    156       165     45        57      96        99    84       185     26        24      407        530   30% 




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                                       The Coalitions Program

         35.     By law, the Grants to State and Territorial Domestic Violence and Sexual Assault

  Coalitions (“Coalitions Program”) are for “coordinating state victim services activities, and

  collaborating and coordinating with federal, state, and local entities engaged in violence against

  women activities” (34 U.S.C. § 10441(c)(1)). Sexual assault coalitions receive additional funds

  “to assist in supporting the establishment, maintenance, and expansion of such coalitions” (34

  U.S.C. § 12511(d)(1)(A)). Specifically, funds may be used for: a) working with local sexual assault

  programs and other providers of direct services to encourage appropriate responses to sexual

  assault within the state or territory; b) working with judicial or law enforcement agencies to

  encourage appropriate responses to sexual assault cases; c) working with courts, child protective

  services agencies, and children’s advocates to develop appropriate responses to child custody and

  visitation issues when sexual assault has been determined to be a factor; d) designing and

  conducting public education campaigns; planning and monitoring the distribution of grants and

  grant funds to their state or territory; e) collaborating with and informing federal, state, or local

  public officials and agencies to develop and implement policies to reduce or eliminate sexual

  assault (34 U.S.C. § 12511(d)(2)).

         36.     The Coalitions Program operates as a formula-based program where annual grant

  awards are determined mathematically: each coalition is to receive 1/56th of the funds available

  for domestic violence and sexual assault coalitions. See 34 U.S.C. §§ 12511(d)(3)(B);

  10446(b)(2)-(3). However, unlike typical formula grants to named entities like state governments,

  the Executive Branch maintains exclusive discretion in designating eligible coalitions: only

  organizations recognized by the Department of Health and Human Services (“HHS”) as either a




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  domestic violence or sexual assault coalition—or sometimes both, as in the case of a dual

  coalition—are to receive an award (34 U.S.C. § 10441(c)(2)).

         37.     Pursuant to HHS regulation, to be designated as a domestic violence coalition an

  organization’s “membership must include representatives from a majority of the primary-purpose

  domestic violence service providers operating with the state” (45 C.F.R. § 1370.20(b)(1)). In

  addition, the organization’s purpose must be to support its members in establishing and

  maintaining shelter and supportive services for victims of domestic violence and their dependents,

  to serve as a resource center on domestic violence for the state, and to support the development of

  policies, protocols, and procedures to enhance domestic violence intervention and prevention in

  the state. See id. § 1370.20(b)(4). Although these purposes affect designation, and therefore

  eligibility for an award using the mathematical formula described above, they are broader than the

  purposes for which funds under the Coalitions Program may be used.

         38.     HHS’s Centers for Disease Control and Prevention designates sexual assault

  coalitions pursuant to 42 U.S.C. § 280b-1b as organizations that “coordinat[e] and provid[e]

  prevention activities, provid[e] assistance to prevention programs, and collaborat[e] and

  coordinat[e] with applicable federal, state, tribal, and local entities engaged in sexual violence

  prevention[.]” The statute addressing sexual assault coalitions gives the Attorney General

  exclusive authority to require each eligible entity desiring a grant to submit an application “at such

  time, in such manner, and containing such information as the Attorney General determines to be

  essential to carry out the purposes of [the program statute]” (34 U.S.C. § 12511(d)(4)).

         39.     The plaintiff coalitions are 17 of 86 currently designated sexual assault, domestic

  violence, or dual coalitions. Beyond the HHS criteria for coalitions’ membership, each coalition




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  sets its membership criteria in accordance with its articles of incorporation and bylaws under state

  law governing nonprofit organizations.

          40.      To receive an award each year, all coalitions must apply annually for funding under

  a non-competitive NOFO, through which OVW funds all eligible applications, although funds may

  be placed on hold pending submission of missing documents. 20 The application includes a

  Proposal Narrative in which applicants must list activities divided according to each applicable

  statutory purpose area, with a separate section for the additional funds and purposes available only

  for sexual assault coalitions (or dual coalitions eligible for the additional sexual assault-focused

  funds under 34 U.S.C. § 12511(d)). The application also requires a budget with a clear link between

  project activities and budget items, with funds budgeted under 34 U.S.C. § 10441(c)(1) and 34

  U.S.C. § 12511(d) clearly broken out. The NOFO states that OVW will review applications to

  ensure that they are complete and meet statutory, regulatory, and other program requirements as

  described in the NOFO.

          41.      In addition to funding under the Coalitions Program, domestic violence and sexual

  assault coalitions may apply for funding under OVW’s competitive grant programs if they meet

  the statutory eligibility criteria.



  I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge

  and belief. Executed this 18th day of July 2025.



                                                      ____________________________________



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    U.S. DEP’T JUST. OFF. ON VIOLENCE AGAINST WOMEN, OVW Fiscal Year 2025 State and Territory Domestic
  Violence and Sexual Assault Coalitions Program, https://www.justice.gov/ovw/media/1400746/dl?inline (last visited
  July 18, 2025).

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                                   Ginger Baran Lyons

                                   OVW Supervisory Official

                                   Deputy Director for Grants Development and
                                   Management




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                         EXHIBIT A
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                        PRE-DECISIONAL | DO NOT SHARE


             OVW Program-wide Out-of-scope Activities:
     Talking Points for Staff Responding to Applicants’ Questions
                                           May 2025

  This document provides talking points for OVW staff for responding to questions from
  applicants regarding program-wide out-of-scope activities listed in our FY 2025 NOFOs.
  This document is internal and for OVW staff only; do not forward outside OVW. Staff may
  cut and paste or relay over the phone information from this document, as needed and as
  appropriate based on the question presented.

  1. Promoting or facilitating the violation of federal immigration law.
  This means what it says. While it has not been explicitly proscribed in NOFOs until now,
  promoting or facilitating violations of law has always been an unallowable use of OVW
  funds.

  2. Inculcating or promoting gender ideology as deﬁned in Executive Order 14168,
  Defending.Women.from.Gender.Ideology.Extremism.and.Restoring.Biological.Truth.to.
  the.Federal.Government.
     •   OVW and the grant programs we administer exist to defend all victims from violence
         and abuse.
     •   OVW does not fund projects that inculcate or promote “gender ideology” as
         described in E.O. 14168 (Defending Women).
     •   By statute the services these grants provide are available to victims of domestic
         violence, sexual assault, dating violence, no matter how they describe themselves.
     •   OVW’s nondiscrimination provision (34 U.S.C. § 12291(b)(13)(A)) is the law and
         OVW grant recipients and subrecipients are expected to abide by it.
     •   OVW will continue to monitor recipients for compliance with all laws, including
         ensuring that grant funds are not used to promote or inculcate gender ideology.

  3. Promoting or facilitating discriminatory programs or ideology, including illegal DEI
  and “diversity, equity, inclusion, and accessibility” programs that do not advance the
  policy of equal dignity and respect, as described in Executive Order 14173, Ending.
  Illegal. Discrimination.and.Restoring.Merit‗Based.Opportunity. This prohibition is not
  intended to interfere with any of OVW’s statutory obligations, such as funding for
  HBCUs, culturally speciﬁc services, and disability programs.
     •   OVW administers its grant programs in accordance with their authorizing statutes
         and pertinent regulations and requirements. As such, OVW does not and will not
         permit grant funds to be used for illegal programming of any sort.
     •   OVW’s grant programs support coordinated community responses to VAWA crimes.
         In addition to victim services, investigation, prosecution, and other activities, the


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         grants fund training to equip professionals with the knowledge and skills they need
         to combat violent crime and serve victims.
             o Some training may address how race, sex, culture, and other factors can
                 affect a person’s experience of violence and their pursuit of safety and
                 justice. As always, these trainings must comport with the terms and
                 conditions of recipients’ grant awards, and they must not “diminish the
                 importance of individual merit, aptitude, hard work, and determination.”
                 (E.O. 14173, Sec. 1).
             o OVW will not approve material that runs counter to federal civil rights laws or
                 presents social theory as empirical fact.
     •   All grantees are subject to a statutory provision that prohibits them from
         discriminating in their programming against anyone based on a number of
         prohibited classiﬁcations, including race and sex.

  4. Activities that frame domestic violence or sexual assault as systemic social justice
  issues rather than criminal offenses (e.g., prioritizing criminal justice reform or social
  justice theories over victim safety and offender accountability).
     •   Recipients using OVW funds for training and technical assistance should be mindful
         of this as they prepare content and materials.
     •   Training materials should focus on how best to perform one’s job (whether that be a
         law enforcement officer, advocate, prosecutor, etc.), support victims of crime, and
         hold offenders accountable.
     •   For recipients whose funds are for serving victims and administering justice, OVW
         expects them to continue to do their work as normal.

  5. Generic community engagement or economic development without a clear link to
  violence prevention, victim safety, or offender accountability.
  Applicants and recipients are encouraged to consider on their own whether an activity has
  a clear link to violence prevention, victim safety, and/or offender accountability. Applicants
  are welcome to inquire with OVW, as well, as they assess whether an activity’s link to these
  objectives is clear, tenuous, or nonexistent. Because the answer might not always be
  simple and obvious, applicants and recipients should be prepared to make judgment calls,
  without explicit guidance from OVW, about whether an activity has a clear link to violence
  prevention, victim safety, or offender accountability.

  6. Programs that discourage collaboration with law enforcement or oppose or limit the
  role of police, prosecutors, or immigration enforcement in addressing violence against
  women.
  The cornerstone of VAWA grant programs is coordinated community response, meaning
  victim services providers, law enforcement, prosecutors, and others work together to keep
  their communities safe and support victims in navigating the aftermath of violence. OVW



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  has always encouraged grantees to collaborate with law enforcement and prosecutors to
  keep victims safe and hold offenders accountable.

  7. Awareness campaigns or media that do not lead to tangible improvements in
  prevention, victim safety, or offender accountability.
  Applicants and recipients are encouraged to determine on their own whether an awareness
  campaign or media production to be undertaken with OVW funds is likely to lead to
  tangible improvements in prevention, victim safety, or offender accountability. Note that
  OVW performance reports are an appropriate venue to report on these activities and
  related indicators of success. Applicants and recipients are welcome to bring questions to
  OVW, as well. Because, however, the answer might not always be simple and obvious,
  applicants and recipients should be prepared to make judgment calls, without explicit
  guidance from OVW, about whether an awareness campaign or media production is likely
  to have tangible results.

  8. Initiatives that prioritize illegal aliens over U.S. citizens and legal residents in
  receiving victim services and support.
  OVW grantees serve all victims of domestic violence, sexual assault, dating violence, and
  stalking, and they investigate and prosecute cases involving these crimes no matter who is
  the victim or the perpetrator. Furthermore, service providers do not necessarily know the
  legal status of the victims they help. While applicants and recipients should not prioritize
  serving any speciﬁc group of victims, they should expect to continue serving all victims and
  assisting victims with obtaining relief for which they are eligible. Where resources are
  limited, service providers may triage clients based on safety factors such as risk of future
  harm.

  9. Excessive funding for consulting fees, training, administrative costs, or other
  expenses not related to measurable violence prevention, victim support, and offender
  accountability.
  OVW funds should be used for efforts to support victims, hold offenders accountable, and
  engage in prevention activities with measurable outcomes. Any consulting fees, training,
  administrative costs, and other expenses paid through OVW grants should be necessary for
  achieving the purpose of the funded project, as outlined in the terms and conditions of the
  award. Furthermore, per 2 CFR Part 200 (Subpart E-Cost Principles), costs charged to a
  federal grant must be reasonable, allocable, and allowable.

  10. Any activity or program that unlawfully violates an Executive Order.
  This means that recipients must not break the law. If an applicant or recipient is concerned
  that something they are proposing to do with OVW funds is unlawful, they should consult
  with their counsel.




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